            Case 1:20-cv-06757-RA Document 18 Filed 01/11/21 Page 1 of 1




Erik M. Bashian, Esq.
T: (516) 279-1554
F: (516) 213-0339
eb@bashpaplaw.com

*Admitted to Practice in New York and New Jersey
                                                                                  VIA CM/ECF



                                                                          January 8, 2021

United States District Judge Ronnie Abrams
United States District Court
Southern District of New York
40 Foley Square, Room 2203
New York, New York 10007

        Re:       Natalia Juscinska v. Method Residential LLC, Case No.: 1:20-cv-6757-RA

Dear Judge Abrams:

       This office represents the Plaintiff Natalia Juscinska (“Plaintiff”) in connection with the
above-referenced action. As previously reported, the above-referenced action has been settled
and a settlement agreement has been drafted and provided to the defendant. At this time, we are
waiting for the defendant to execute the agreement. Respectfully, we are requesting together with
counsel for the defendant, a final stay of all deadlines and conferences, for an additional fourteen
(14) days so that the parties can finalize the settlement agreement

        We thank the Court for your time and consideration in this matter.

                                                                 Respectfully submitted,

                                                                 BASHIAN & PAPANTONIOU, P.C.

                                                                 /s/ Erik M. Bashian
                                                                 ________________________
                                                                 Erik M. Bashian, Esq.


                                                                                             Application granted.

cc:     Anthony J. Tomari, Esq. (via CM/ECF)                                                                    SO ORDERED.


                                                                                                    _____________________
                                                                                                        Hon. Ronnie Abrams
                                                                                                           January 11, 2021
   500 OLD COUNTRY ROAD, SUITE 302, GARDEN CITY, NEW YORK 11530 T: (516) 279-1555 F: (516) 213-0339 WWW.BASHPAPLAW.COM
